                        Case 4:14-cr-00005-DPM                     Document 391              Filed 07/28/15        Page 1 of 5
               (Rev. 09/l I) Judgment in a Crimin;I! Case
                                                                                                                           FILED
                                                                                                                        U.S DISTRICT COURT
                                                                                                                    EASTERN DISTRICT ARMNSAS
               Sheet l

                                                                                                                         JUL
                                            UNITED STATES DISTRICT COURJi.MESW                                                                    RK
                                                              Eastern District of Arkansas                    By: __4-+f~l+--h~"nri~i"t:t5"i('
                                                                            )
               UNITED STATES OF AMERJCA                                     )          JUDGMENT IN A CRIMINAL CASE
                                    v.                                      )
                       Socorro Medina Felix                                 )
                                                                                       Case Number: 4:14-cr-5-DPM-4
                                                                            )
                                                                            )          USM Number: 28600-009
                                                                            )
                                                                            )          Mark F. Hampton
                                                                                       Ddcndanrs Attorney
THE DEFENDANT:
fitpleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a pica of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                         Offense Ended
21 U.S.C. § 841 (a)(1) &             Possession with Intent to Distribute Methamphetamine, a

 (b)(1 )(a)                           Class A Felony                                                           10/26/2013                 9



       The defendant is sentenced as provided in pages 2 through                   5      _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
[i('count(s)      1&8                                       D is     !ii"arc dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name. residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defcnaant must notify the court and United States attorney of material changes in ccononuc circumstances.                            ·

                                                                             7/22/2015             -----~--


                                                                            Date nf lmposilion of Judgment




                                                                                D.P. Marshall Jr.                        l}~S. Distr~~! ~~d_ge __ _
                                                                            Nani~ ·arid Title of Judge -




                                                                            Date
                          Case 4:14-cr-00005-DPM                  Document 391             Filed 07/28/15         Page 2 of 5
r\O 245B       (Rev. 09/l I) Judgment in Criminal Cusc
               Sheet 2 - Jmprisonrncnt

                                                                                                           Judgment -- Page   2     of   5
DEFENDANT: Socorro Medina Felix
CASE NUMBER: 4:14-cr-5-DPM-4


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    57 months, with credit for time served in Federal custody. The Bureau of Prisons shall determine whether Felix is entitled to
    credit for time served in State custody. See PSR 1128.



      ilf The court makes the following recommendations to the Bureau of Prisons:
  1) that Felix participate in educational and vocational programs during incarceration; and
  2) designation to the available facility closest to Arizona to facilitate family visitation.



      ~ The defendant is remanded to the custody of the United States Marshal.

      0 The defondant shall surrender to the United States Marshal for this district:
           0     at                                      D a.m.     D p.rn.      on
           0 as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           0 as notified by the United States Marshal.
           0 as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                             to

a                                                          with a certified copy of this judgment.



                                                                                                        UNITED STATl.!S MARSI JAL


                                                                               By .
                                                                                                     DEPUTY UNITED STATES MARSHAL
                           Case 4:14-cr-00005-DPM                Document 391             Filed 07/28/15           Page 3 of 5
/\0 245fl      (Rl·v. 09/1 l)Judgmcnt in o Crimimil C'it~e
               Sheet 3 - S upcrviscd Release
                                                                                                             Judgmcn1-P:tgc .     3   of         5
 DEFENDANT: Socorro Medina Felix
 CASE NUMBER: 4:14-cr-5-DPM-4
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  None.

         The defendant must report to the probation office in the district to which the defendant is released within T2 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfolly possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment anu at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Ched. ifapplicabl<'.J

 0        The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon. (Check. if applimble.)

 D        The defendant shall cooperate in the collection of DNA as directed by the probation ollicer. (Chrck. if applicah/I?.)

          The defendant shall comply with the req_uirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I. et seq.)
 0        as direc.ted by the probation offi~er, the Burea1:1 orPriso,ns, or any state sex offender registration agency in which he or she resides. .
          works, 1s a student, or was convicted of a qualifying offense. (Check. !fapplic11ble.J

 D        The defendant shall participate in an approved program for domestic violence. (Chf!ck. if<lpphrnble.J
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the permission of the court or probation officer:
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training. or other
            acceptable reasons;
     6)     the defendant shall notify the probation otTiccr at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
     8)     the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony. unless granted permission to do so by the probation officer:
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
            contraband observed in plain view of the probation officer:
  I I)      the defendant shall notify the probation officer within seventy-two hours of being an-ested or questioned by a law enforcement officer:
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation orticer, the defendant shall notity third parties ofrisks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
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AO 24513   (Rev. 09/11) Judgment in a Criminal Case
           Sheet S - Criminal Monetary Penalties
                                                                                                           Judgment -   Page    4     of   5
DEFENDANT: Socorro Medina Felix
CASE NUMBER: 4:14-cr-5-DPM-4
                                               CRIMINAL MONET ARY PENAL TIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                            Fine                                   Restitution
TOTALS             $ 100.00                                              $ 0.00                                s 0.00

 D The dctcnnination of restitution is deferred until                     . An Anwmled Judgment in a Crimino/ Case (AO 1./5(') will be entered
     after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i). all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                                Total Loss*           Restitution Ordered Priority or Percentage




 TOTALS                               $                           0.00           $                        0.00


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or tine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 I2(g).

 D     The court determined that the defendant docs not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D fine      D restitution.
       0   the interest requirement for the           D   fine    D      restitution is modified as follows;



 * Findings for the total amount oflosses are required under Chapters I09A. 110. 11 OA. and 1l 3A of Title 18 for offenses committed on or after
 September I 3. 1994, but before April 23, l 996.
                       Case 4:14-cr-00005-DPM                   Document 391             Filed 07/28/15           Page 5 of 5
1\0 245B    (Rev. 09/11) Judgm..:nt in a Criminal Case
            Sheet 6 - Schcduk of Payments
                                                                                                            Judgment - Page      ~ __   of    ___g__
 DEPENDANT: Socorro Medina Felix
 CASE NUMBER: 4:14-cr-5-DPM-4

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A    ri/ Lump sum payment of$                100.00           due immediately, balance due

                  not later than             _____ ___ ______ _    , or
                  in accordance             D C, D D. 0              E. or     ~ F below; or

 B    D     Payment to begin immediately (may be combined with               D C.       D D, or      D F below); or
 C    D     Payment in equal ___ _____ _    (e.g., 1reek(\1• mont/ll_v, 11uarterM installments of $                __            over a period of
           ______ (e.g.. months or yem·s), to commence                    ______ fe.g. 3() or 60 d1~vs) after the date of this judgment; or

 D    O     Payment in equal                    re.g.. weekly. monthly. quarterly) installments of $         _ ______________ over a period of
                _____ (e.g.. months or years), to commence               ______ (<'.g. 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

 E    D Payment during the term of supervised release will commence within              ___ (e.g.. 30 or 60 d1~1·s) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    rsJ Special instructions regarding the payment of criminal monetary penalties:
             If Felix is unable to pay the special assessment immediately, then during incarceration he shall pay 50 percent per
             month of all funds available to him until the assessment is paid in full.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties. except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (111cl11ding de/enda1111111111berJ, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.                     · ·




 D    The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties. and (8) costs, including cost of prosecution and court costs.                '
